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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 A. KEVIN FAHEY,

                 Plaintiff,

         v.                                                 No. 20-cv-0534 (DLF)

 APPLE INC.,

                 Defendant.


                                              ORDER

        Before the Court is the defendant’s Unopposed Motion to Transfer this case to the

Northern District of California, pursuant to 28 U.S.C. § 1404(a). See Dkt. 10. Under Section

1404(a), “[f]or the convenience of parties and witnesses, in the interest of justice,” a district court

may transfer a case to any district where it might have been brought. 28 U.S.C. § 1404(a). The

Court will grant the motion for the following reasons.

        First, this case “might have been brought” in the Northern District of California. Venue

is proper in the Northern District of California because the defendant, Apple Inc., is

headquartered and does business there. California has personal jurisdiction over Apple because

it is incorporated in California.

        Second, transfer is in the interest of justice. The plaintiffs do not oppose the transfer and

the Pepper Action—a consolidated class action that is “substantially identical in form and

substance” to this case—has been pending in the Northern District of California for almost a

decade. See Def.’s Mot. at 1–2; Second Am. Compl., In re Apple iPhone Antitrust Litig., No.

4:11-cv-06714-YGR (N.D. Cal. Sept. 5, 2013), ECF No. 111. The Pepper Action is still in the
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early stages of discovery, see Def.’s Mot. at 5, so the plaintiffs will not be prejudiced by

transferring the case.

          For these reasons, the Court grants the defendant’s Unopposed Motion to Transfer.

          Accordingly, it is

          ORDERED that the Unopposed Motion to Transfer, Dkt. 10, is GRANTED. It is

further

          ORDERED that this case be TRANSFERRED to the United States District Court for

the Northern District of California.

          Once transferred, the Clerk of Court is directed to close this case.




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                                                                DABNEY L. FRIEDRICH
February 27, 2020                                               United States District Judge




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